
41 So.3d 428 (2010)
Joseph Ramon LOTT, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-4229.
District Court of Appeal of Florida, Fifth District.
August 6, 2010.
James S. Purdy, Public Defender, and Brynn Newton, Assistant Public Defender, Daytona Beach, for Appellant.
*429 Bill McCollum, Attorney General, Tallahassee, and Pamela J. Koller, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Joseph Ramon Lott appeals a restitution order entered following his plea of guilty to a charge of grand theft of a motor vehicle. The only issue on appeal is whether the trial court erred in conducting the restitution hearing in Lott's absence, and without notice to him, when there was no evidence that he waived his appearance at the proceeding. The State concedes error. Accordingly, we reverse the restitution order and remand for a new restitution hearing, with proper notice to Lott.
REVERSED AND REMANDED.
ORFINGER, LAWSON and JACOBUS, JJ., concur.
